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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

                                                  Case No. 1:18-CR-00204-NGG-VMS
    UNITED STATES OF AMERICA


             -   v. –                             EVIDENTIARY HEARING REQUESTED


    KEITH RANIERE,                                ORAL ARGUMENT REQUESTED

                               Defendant.




                                 MEMORANDUM OF LAW IN SUPPORT OF
                  DEFENDANT KEITH RANIERE’S MOTION FOR RULE 33 RELIEF




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                               SUPPLEMENTAL ARGUMENT
           The following argument serves to supplement the previously filed Motion for Rule 33

    Relief, and, as such, adopts the statement of relevant facts and exhibits as marked and filed.

                                       LEGAL STANDARD
           In Brady v. Maryland, the United States Supreme Court established that, “[T]he

    suppression by the prosecution of evidence favorable to the accused upon request violates due

    process where the evidence is material either to guilt or to punishment, irrespective of good faith

    or bad faith of the prosecution.” Brady v. Maryland, 272 U.S. 83 (1963). This requires a showing

    that the evidence was favorable, “either because it is exculpatory, or because it is impeaching;”

    that the evidence was suppressed by the state, and that prejudice ensued. Skinner v. Switzer, 562

    U.S. 521, 536 (2011); Strickler v. Greene, 527 U.S. 263, 281-282 (1999).

           “Evidence qualifies as material when there is any reasonable likelihood it could have

    affected the judgement of the jury.” Wearry v. Cain, 577 U.S. 385, 392 (2016). It need only be

    “sufficient to ‘undermine confidence’ in the verdict.” Id. The question is whether in the

    evidence’s absence, the accused “received a fair trial.” Kyles v. Whitley, 514 U.S. 419, 434

    (1995). While the “force of undisclosed evidence is evaluated item by item, its cumulative effect

    for purposes of materiality must be considered collectively.” Id. at 436-437, fn. 10.

           The prosecution suppresses material exculpatory evidence in violation of Brady when it

    has possession or knowledge of such evidence but fails to disclose it to the defense. Bell v. Pool

    (E.D.N.Y. April 10, 2003, 00-CV-5214 (ARR)). The prosecution is deemed to have constructive

    knowledge of evidence “known only to the police investigators and not to the prosecutor.”

    Strickler v. Greene, 527 U.S. 263, 280-281 (1999). “Brady material must be disclosed in time for

    its effective use at trial.” United States v. Coppa, 267 F.3d 132, 135 (2d Cir. 2001). Brady

    material that is not “disclos[ed] in sufficient time to afford the defense an opportunity for use”

    may be deemed suppressed within the meaning of the Brady doctrine. Leka v. Portuondo, 257


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    F.3d 89, 103 (2d Cir. 2001).

            Under Trombetta and its progeny, a defendant is entitled to dismissal based on spoliation

    of evidence if: (1) the evidence possessed “exculpatory value that was apparent before it was

    destroyed,” (2) the defendant would be “unable to obtain comparable evidence by other

    reasonably available means,” and (3) the government acted in bad faith. United States v.

    Robinson (E.D.N.Y., Nov. 8, 2019, 16-CR-545 (S-4)(ADS)) [pp. 15].

            It is recognized that the Sixth Amendment “right to counsel is the right to the effective

    assistance of counsel.” Strickland v. Washington, 466 U.S. 668, 686 (1984). The government

    violates the right to effective assistance when it interferes with the ability of counsel to make

    independent decisions about how to conduct the defense. Id. at 668; citing Geders v. United

    States, 425 U.S. 80 (1976); Herring v. New York, 422 U.S. 853 (1975); Brooks v. Tennessee, 406

    U.S. 605 (1972); Ferguson v. Georgia, 365 U.S. 570 (1961).

       I.       THE GOVERNMENT PREVENTED DISCOVERY OF THE NEW
                EVIDENCE, DESPITE DEFENSE COUNSEL’S DUE DILLIGENCE,
                THROUGH VIOLATIONS OF BRADY AND TROMBETTA.
            Trial counsel fought for the right and opportunity to access the compact flash card,

    hereafter CF card, and Western Digital hard disc drive, hereafter WD HDD, to obtain an expert

    examination of the devices. However, despite ongoing attempts, including bringing lack of

    access to the attention of the Court, trial counsel was continually denied access to this material

    exculpatory evidence. This access was necessary to discover the FBI’s tampering discussed in

    this motion. This inability to adequately investigate the only evidence of the RICO allegations

    regarding child pornography and child exploitation was caused by the government suppressing

    and destroying evidence prior to trial counsel having an opportunity to review it.

            These violations not only stymied pretrial discovery but also constituted separate

    violations of due process that mandate dismissal as a sanction.



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           A. THE GOVERNMENT VIOLATED ITS BRADY DUTIES.
              1. The Government Suppressed the Material Exculpatory Evidence of the CF
                   Card and WD HDD.
           Here, the RICO allegations regarding child pornography and child exploitation were

    supported entirely by the digital evidence from the CF card and the WD HDD. Despite the clear

    material nature of the CF card, trial counsel was never provided with a forensic copy, any

    opportunity to view it, nor to have it examined by an expert.

           Instead, on April 24, 2019, trial counsel received the April 11, 2019, FTK report on the

    CF card by FE Flatley. On June 11, 2019, during trial, counsel received a vastly different report,

    which had been run by SFE Booth the same day it was provided. These reports were

    contradictory despite the reports being produced by the same version of the same software on the

    same item. Ex. D at Bates 035-036. The second report included the sudden appearance of thirty-

    seven pictures, circumstantially bolstering the claim that the camera containing the CF card

    produced the alleged contraband photographs.

           Access to the WD HDD was also unavailable for adequate investigation. On February 21,

    2019, all Defense copies were ordered returned. After that, the government controlled Defense’s

    access to the material exculpatory evidence and improperly suppressed it.

           Because information obtained from the CF card and WD HDD constituted the entirety of

    the evidence against Mr. Raniere for the RICO acts regarding child pornography and child

    exploitation, they were clearly material evidence as to guilt or innocence. Even though the

    evidence disclosure has thus far been incomplete, expert review nonetheless allowed Dr. Kiper to

    find unmistakable evidence of tampering which, if revealed to the jury, would have disproven the

    government’s allegations; impeaching not only its witnesses, but its credibility at large.

           The prosecution had possession and knowledge of the CF card and multiple forensic

    copies. Despite this, no copies were ever provided to trial counsel. Moreover, there was no way



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    for trial counsel to obtain copies of the CF card except from the government. The provision of a

    significantly different second FTK report the day before SFE Booth’s testimony did not allow for

    an investigation into the legitimacy of the new findings or new report, and thus did not allow for

    effective use at trial. United States v. Coppa, 267 F.3d 132, 135 (2d Cir. 2001). Thus, the

    government suppressed the CF card and its contents.

           The WD HDD was controlled by the government after return of Defense copies on

    February 21, 2019. On March 15, 2019, trial counsel was able to review a forensic copy of the

    WD HDD and, upon determining that expert review would be necessary, immediately reached

    out to an expert who averred that there was not enough time prior to trial for him to responsibly

    prepare a forensic analysis. Status Conference Tr. at 8:24 – 9:2 (March 18, 2019); Dkt. 436. On

    April 22, 2019, only two weeks before trial, trial counsel informed the Court via affidavit of

    the government’s repeated failure to provide the WD HDD reports. Dkt. 577 at ¶ 4.

           The prejudice of this suppression is obvious. Ex. D. With access to forensic copies of the

    CF card and the WD HDD, trial counsel would have been able to have a forensic expert

    adequately investigate the items which would have revealed that the government planted and

    manipulated key evidence in support of its child pornography and exploitation RICO allegations.

           Such proof of tampering would “affect the judgement of the jury” and “undermine

    confidence in the verdict,” therefore the suppression of this material exculpatory evidence was

    improper, interfered with trial counsel’s ability to make independent decisions about how to

    conduct Mr. Raniere’s defense, and independently mandate dismissal.

              2. The Government Suppressed the Material Exculpatory Evidence of
                 Numerous FBI Violations of Protocol.
           Convictions in cases in which false testimony by a government witness is uncovered after

    trial, “must be reversed unless the evidence was so overwhelming that there is no ‘reasonable




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    likelihood that the false testimony could have affected the judgment of the jury.’” Su v. Filion,

    335 F.3d 119, 129 (2d Cir. 2003). “The very fact of the witness’ untruthfulness is itself relevant

    to an analysis of prejudice.” Id. at 128. With perjured testimony, “a witness’ credibility could

    very well [be] a factor of central importance to the jury, indeed every bit as important as the

    factual elements of the crime itself.” United States v. Stofsky, 527 F. 2d 237, 246 (2d Cir. 1975).

           Here, the impeachment evidence withheld from the Defense consists of the numerous

    violations of protocol perpetrated by the FBI’s handling of the CF card and WD HDD. Had the

    appropriate discovery been disclosed, impeaching cross-examination would have been possible

    rather than prevented by the lying and obfuscation of the government. Moreover, each violation

    involved prejudice beyond inability to cross-examine.

           First, improper review of the Canon camera and CF card occurred prior to the required

    initial processing. Ex. D at Bates 034. There was no disclosure that SA Rees and SA Lever were

    not authorized to access the evidence items prior to processing by the Computer Analysis and

    Response Team, hereafter CART, examiner. The second time the CF card was accessed by an

    unauthorized individual, namely SA Lever, the card was improperly examined, and this violation

    of FBI “critical procedure” resulted in destruction of evidence as the “date accessed” information

    was overwritten. Id. at 006 – 007. Further, this information of authorized access would have

    impeached Agent Mills as AUSA Hajjar elicited false testimony that appropriate protocol had

    been followed. Trial Tr. at 4207: 15-18.

           Second, the Canon camera and CF card had broken chains of custody and SFE Booth lied

    about the significance. Id. at 4886:15 – 4889:22. The broken chains of custody were known to

    SFE Booth as information regarding these breaks were in his notes. These notes had been

    requested by the Defense and were not provided to allow for appropriate review and use in cross-




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    examination and objection to admissibility of the evidence. Trial Tr. at 4890:17-4892:24.

            Finally, SFE Booth’s re-examination of the CF card was undisclosed as a violation of

    FBI policy. Ex. D at Bates 037-038. As a Senior Forensic Examiner, SFE Booth knew that his

    re-processing of the CF card was a violation of FBI protocol but instead of disclosing this, he

    lied about it. Id.

            Evidence of broken chains of custody and improper reexamination goes directly to the

    admissibility of the electronic evidence and the credibility of the FBI witnesses. It was known to

    the prosecution, but not disclosed. Such impeachment of protocol would have undermined the

    confidence of the jury and affected the verdict.

               3. These Brady Violations Were Done in Bad Faith.
            Brady violations are found irrespective of good or bad faith of the prosecution. Brady v.

    Maryland, 272 U.S. 83 (1963). However, dismissal is an appropriate sanction where the

    prosecution engages in “egregious and deliberate” misconduct or acts flagrantly, willfully, and in

    bad faith. United States v. Mangano (E.D.N.Y., Jan. 6, 2022, 16-CR-540 (JMA)). Here,

    withholding this material exculpatory evidence was egregious and deliberate misconduct and

    done flagrantly, willfully, and in bad faith to deny the Defense the ability to investigate.

            Bad faith is shown in the suppression of the CF card and WD HDD. First, on September

    13, 2018, the prosecution refused to “engage” in a discussion about setting a timetable for

    discovery because the government was “not willing to disclose everything based on … charges

    that have not been brought.” Status Conference Tr. at 13:16-14:8 (Sept. 13, 2018). The

    prosecution knew this would constitute material evidence to charges they had already planned

    for but were delaying for strategic advantage to undermine the Defense’s ability to effectively

    assist Mr. Raniere; on January 9, 2019, the prosecution stated that the government expected to

    supersede the present information. Status Conference Tr. at 4:14-5:2 (Jan. 9, 2019.) Troublingly,



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 six weeks later, FBI agents “accidentally” discovered the alleged contraband photos, the

 inclusion of which was the only difference in the second superseding indictment. “Accidents”

 cannot be premeditated. Additionally, on February 11, 2019, the government misrepresented its

 evidence disclosure to the Defense in stating that all defendants “have everything from 8 Hale.”

 Status Conference Tr. at 34:14-19 (Feb. 11, 2019.) Yet, a forensic copy of the CF card had not

 been provided and still has not.

        The FBI protocol violations were done in bad faith as was its evidence tampering. Such

 behavior is quintessential bad faith as it is improper action taken specifically to dishonestly

 benefit and improperly strengthen the government’s case. Moreover, the protocol violations were

 covered up with perjurious testimony. Agent Mills lied that protocol had been followed. Trial Tr.

 at 4207: 6-18. SFE Booth lied that the breaks in the chains of custody and his ignorance of who

 held the evidence before he ran his unnecessary FTK report were not important or outside of

 protocol. SFE Booth also lied about the reliability of the tampered EXIF data. Ex. D at Bates

 036-037.

        Thus, dismissal is both warranted and the most appropriate remedy here.

        B. THE GOVERNMENT VIOLATED TROMBETTA WHEN THEY
           DESTROYED EVIDENCE ON THE CF CARD BY IMPROPERLY
           ACCESSING IT AND BY PLANTING FALSE EVIDENCE IN BAD FAITH.
        The government has a constitutional duty to preserve evidence that possesses an

 exculpatory value that was apparent before destruction, and when comparable evidence cannot

 be obtained by other reasonably available means. California v. Trombetta, 467 U.S. 479 (1984).

 Material evidence means “evidence that might be expected to play a significant role in the

 suspect’s defense.” Id. at 488. A defendant is entitled to dismissal based on spoliation of

 evidence if: (1) the evidence possessed “exculpatory value that was apparent before it was

 destroyed,” (2) the defendant would be “unable to obtain comparable evidence by other



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 reasonably available means,” and (3) the government acted in bad faith. United States v.

 Robinson (E.D.N.Y., Nov. 8, 2019, 16-CR-545 (S-4)(ADS)) [pp. 15]. The “government’s failure

 to retain potentially exculpatory evidence is done in bad faith when the circumstances under

 which the evidence is discarded negate any innocent explanation for the government’s conduct.”

 United States v. Soriano, 401 F. Supp. 3d 396, 401 (E.D.N.Y. 2019).

          First, the prosecution was aware of the exculpatory value of the “empty” portions of the

 CF card prior to its destruction by their planting of data on it. Most obviously, the “empty” space

 showed that these photographs were not actually present on the CF card. The government knew

 that this “empty” space contained no such images because the FTK report from April 11, 2019,

 did not contain the thirty-seven new images that the June 11, 2019, FTK report alleged. This

 dishonest use of otherwise “empty” space constitutes a bad faith destruction of evidence that was

 apparently exculpatory before its destruction.

          Second, there is no “innocent explanation for the government’s conduct” here as three top

 experts, including a former FBI agent, have found no legitimate innocent explanation. The

 destruction was caused by the intentional insertion of false data onto the CF card, which

 constitutes a planting of evidence, which is not only bad faith, but also a violation of the law.

 Criminally tampering with evidence to gain a dishonest advantage at trial is the definition of bad

 faith.

          Finally, the evidence here of “empty” space and what it held was only able to be found on

 the CF card. Only the government held this card after seizure pursuant to the warrant on March

 27, 2018. While an allegedly complete copy of the WD HDD was provided to the Defense on

 October 5, 2018, it was ordered to be returned as soon as it was revealed to contain relevant and




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 material evidence. No copy of the CF card was ever provided. The two FTK reports contradict

 one another and thus cannot constitute reliable alternative sources.

          In addition to the destruction of the “empty” portions of the CF card, the government also

 improperly accessed the CF card on September 19, 2018, without a write blocker, thereby

 altering and destroying at least the file system dates. Ex. D at Bates 006. This destruction was

 done prior to any Defense review, was committed via an undisclosed violation of FBI “critical

 protocol,” and destroyed the competency of the only copy.

          Thus, the destroyed evidence of both the CF card “empty” space and the overwritten file

 system data violated Trombetta and due process. Ergo, dismissal is both warranted and the most

 appropriate remedy here.

    II.        THE GOVERNMENT VIOLATED MR. RANIERE’S RIGHT TO
               EFFECTIVE ASSISTANCE BY INTERFERING WITH TRIAL
               COUNSEL’S ABILITY TO INVESTIGATE.
          If the Court finds that the new evidence of tampering could have been discovered

 previously, then such theoretical ability must also be found to have been practically estopped by

 the government’s violations of Mr. Raniere’s due process rights, as well as his right to effective

 assistance of counsel.

          Despite deference to professional judgement, attorneys have a clearly established duty to

 investigate. Wiggins v. Smith, 539 U.S. 510, 522 (2003). In evaluating ineffective assistance, the

 primary question is not what counsel should have done “but whether the investigation supporting

 their decision … was itself reasonable.” Id. Here, government action is directly responsible for

 trial counsel’s failure to properly investigate. In an ineffective assistance of counsel paradigm,

 when the government’s acts are directly responsible for counsel’s deficiency, no special showing

 of prejudice need be made. Strickland v. Washington, 466 U.S. 668, 682 (1984). Thus, such

 circumstances are and should be treated differently.



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        The record shows that the government interfered with Mr. Raniere’s right to effective

 assistance of counsel by preventing his trial counsel from investigating. The government

 withheld Brady evidence, lied about providing it, destroyed evidence in violation of Trombetta,

 and elicited perjured testimony around the evidence that they refused to provide.

        The impact of the government’s interference only became known with the newly

 discovered evidence of tampering. Had Mr. Raniere brought an ineffective assistance of counsel

 argument directly after trial, the Court would have stated that there was no proof that

 representation had fallen below an objective standard of reasonableness, nor any reasonable

 probability that the result of the proceeding would have been different. United States v. Sainfil

 (E.D.N.Y., Oct. 2, 2019, 16-CR-652 (DRH)) [pp. 18]. This hypothetical ruling of denial would

 have been based on the false impression that the CF card and WD HDD only held inculpatory

 evidence, which was the only impression available until the tampering was uncovered.

        However, now with the newly discovered evidence of tampering, it is clear that the

 government’s acts of violating their discovery duties under Brady and Trombetta lead to a lack

 of investigation of material evidence that was unreasonable.

                                      CONCLUSION
        For the foregoing reasons, Mr. Raniere is entitled to a dismissal, a new trial, or a

 hearing to further explore these allegations. Supplemental briefings may also be needed to

 address transactions, occurrences, or events which have not yet happened or been asserted.

        Dated: June 17, 2022,                  Respectfully submitted,

                                               TULLY & WEISS ATTORNEYS AT LAW

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                                               JOSEPH M. TULLY
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